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     JAMES A. ORONOZ, ESQ.
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 3   Las Vegas, Nevada 89145
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 4   Facsimile: (702) 522-1542
     jim@oronozlawyers.com
 5   Attorney for Jamaje Bailey
 6                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
 7                                       )
                                         )
 8                                       )
     UNITED STATES OF AMERICA,           ) CASE NO: 2:19-cr-301-GMN-DJA
 9                                       )
                Plaintiff,
                                         ) STIPULATION AND ORDER TO
10                                       ) CONTINUE SENTENCING
                vs.                      )
11                                       ) (First Request)
     JAMAJE BAILEY,                      )
12                                       )
               Defendant.
                                         )
13                                       )
                                         )
14                                       )
15
            IT IS HEREBY STIPULATED AND AGREED by Jamaje Bailey, by and through his
16
     attorney, JAMES A. ORONOZ, ESQ., and the United States of America, by and through
17
     CHRISTOPHER LIN, ESQ., Assistant United States Attorney, that the video sentencing
18
     hearing currently scheduled for January 6, 2021, at 10:00 a.m., be vacated and continued for
19
     at least thirty (30) days past the current sentencing date to a date and time that is convenient
20
     to this Honorable Court.
21
            The request for a continuance is based upon the following:
22
23          1.      On December 18, 2020, the Chief Judge of the United States District Court for
                    the District of Nevada extended Temporary General Order 2020-05, which
24                  provides limited circumstances in which a sentencing hearing may be conducted
25                  via video conference if a case cannot be further delayed. The parties in this case
                    submit that the interests of justice will be best served by continuing the
26                  sentencing hearing in this case. At this time, the defense is looking into
                    mitigating circumstances that must be researched prior to the sentencing hearing.
27
28          2.      Defendant Jamaje Bailey is in custody, and he has no objection to the
                    continuance.


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 1
            3.     Defense Counsel for has spoken to AUSA Christopher Lin, and he agrees to the
 2                 continuance.

 3          4.     The additional time requested herein is not sought for purposes of delay.
 4
            5.     The additional time requested by this Stipulation to Continue Sentencing is
 5                 reasonable pursuant to Fed.R.Crim.P. 32(b)(2), which states that the “court may,
                   for good cause, change any time limits prescribed by this rule.”
 6
 7          6.     Additionally, denial of this request for continuance could result in a miscarriage
                   of justice.
 8
 9   DATED: December 28, 2020

10   Respectfully submitted,

11
     /s/ James A. Oronoz        .                /s/ Christopher Lin
12   James A. Oronoz, Esq.                       Christopher Lin, Esq.
13   Oronoz & Ericsson, LLC                      Assistant United States Attorney
     1050 Indigo Drive, Suite 120                501 Las Vegas Boulevard, South, Suite 1100
14   Las Vegas, Nevada, 89145                    Las Vegas, Nevada, 89101
     Attorney for Jamaje Bailey                  Attorney for the United States of America
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     jim@oronozlawyers.com
 5   Attorney for Jamaje Bailey

 6
 7                              UNITED STATES DISTRICT COURT

 8                          DISTRICT OF NEVADA
                                   ***
 9                                   )
     UNITED STATES OF AMERICA,       )
10              Plaintiff,           )
                                     ) CASE NO: 2:19-cr-301-GMN-DJA
11                                   )
                vs.                  )
12                                   ) FINDINGS OF FACT, CONCLUSIONS
     JAMAJE BAILEY,                  ) OF LAW, AND ORDER
13                                   )
               Defendant.            ) (FIRST REQUEST)
14                                   )
                                     )
15                                   )
                                     )
16                                   )
                                     )
17
                                          FINDINGS OF FACT
18
            Based on the pending stipulation of Counsel and good cause appearing therefore, the
19
     Court finds:
20
21
            1.      On December 18, 2020, the Chief Judge of the United States District Court
22                  for the District of Nevada extended Temporary General Order 2020-05,
                    which provides limited circumstances in which a sentencing hearing may be
23                  conducted via video conference if a case cannot be further delayed. The
                    parties in this case submit that the interests of justice will be best served by
24
                    continuing the sentencing hearing in this case. At this time, the defense is
25                  looking into mitigating circumstances that must be researched prior to the
                    sentencing hearing.
26
27          2.      Defendant Jamaje Bailey is in custody, and he has no objection to the
                    continuance.
28


                                                     3
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            3.      Defense Counsel for has spoken to AUSA Christopher Lin, and he agrees to the
 1
                    continuance.
 2
            4.      The additional time requested herein is not sought for purposes of delay.
 3
            5.      The additional time requested by this Stipulation to Continue Sentencing is
 4
                    reasonable pursuant to Fed.R.Crim.P. 32(b)(2), which states that the “court may,
 5                  for good cause, change any time limits prescribed by this rule.”

 6          6.      Additionally, denial of this request for continuance could result in a miscarriage
 7                  of justice.

 8                                     CONCLUSION OF LAW
 9          The ends of justice served by granting said continuance outweigh the best interests of
10
     the public in proceeding with the sentencing hearing as scheduled, since the failure to grant
11
     said continuance would be likely to result in a miscarriage of justice and would deny the
12
13   defendant the opportunity to appear for his sentencing hearing, taking into account the exercise

14   of due diligence.
15                                              ORDER
16
            IT IS THEREFORE ORDERED that the Sentencing date in this matter scheduled for
17
     January 6, 2021, be vacated and continued to the 10th day of February, 2021, at the hour of
18
19   10:00 a.m. in Courtroom 7D before Judge Gloria M. Navarro.

20                              29 day of December, 2020.
            DATED AND DONE this _____
21
22
                                                            ________________________________
23                                                          UNITED STATES DISTRICT JUDGE
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25
26
27
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                                                     4
